Case: 3:12-cv-00186-bbc Document #:1 Filed: 03/20/12 Page 1of5

United States District Court = yro26 5) 6.93
Western District of Wisconsin

Jinamie.\. Sostauia

(Full name of plaintififs]) le G 01 8 6 BR CG

*HbSTI

‘ Case No.

 

(Prisoner I.D. Number) (Provided by clerk of court)

Plaintiff(s),

6 . f
a)
,

(Full name of defendant(s

\ ler CO,Coudilloco. Hong)

Defendant(s). |
COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

I. PLACE OF PRESENT CONFINEMENT (Provide full address)

 

A.

B.

Is there a grievance procedure in your prison/jail? YES (~ NOO

Have you filed a grievance concerning the facts relating to this complaint?
YES B~ nog

If you have used the grievance process:
L: Describe what you did and the result, if any.

Tite file my Adoniniairative Process by extnustion
My cvalable Groninisicakive femerdies Stateing my Chin,

2: Is the grievance process completed? ye,
T

If you did not use the grievance process, explain why not.

 

 
Case: 3:12-cv-00186-bbc Document #:1 Filed: 03/20/12 Page 2 of 5

Il. PARTIES

A.
B.
C.
D.
E.

( Securitydivector) (Unerrrangertt Dad), 7

Your name (Plaintiff) Jicncme Jean
Prisoner I.D. Number te Yb Vl
Your address COUMoO Cones Wer Ah Poricc Je Wi.5206\

(For additional plaintiffs provide the same information in the same format on a
separate page.)

DEFENDANT (name) _(YWCire\ Merscec
is employed as \hacerm
at Counts Corc last

AAP Neve NTS (names and positio

‘eis Wrnitetcnn Scot. paris CPL baler
Dleshioghor/ liege 78

 

 

 

 

CACY
A

 

 

Il. PREVIOUS LAWSUITS

A.

Have you begun other lawsuits in state or federal court relating to the same facts
involved in this action? YES O NO 42

Have you begun other lawsuits in state or federal court relating to your
imprisonment? YES 0 NO

If your answer is YES to either of the above questions, provide the following
requested information.

E Parties to the previous lawsuit

Plaintiff(s):

 

 

Defendant(s):

 

 

Complaint Under the Civil Rights Act Page 2

 
Case: 3:12-cv-00186-bbc Document #:1 Filed: 03/20/12 Page 3 of 5

 

 

 

 

 

 

 

2: Date filed

3. Court where case filed (if federal court, name district; if state court, name the
county)

4, Case number and citation

5. Basic claim made

6. Current status (for example: Was the case dismissed? Was it appealed? Is

it still pending?)

 

 

a If resolved, date of disposition

 

8. If resolved, state whether for

 

(Plaintiff or Defendant)

(For additional cases, provide the above information in the same format on a separate
page.)
IV. STATEMENT OF CLAIM

vA, State as briefly as possible the facts of your case. Describe how each named
defendant is involved. Include the names of other persons involved, dates, and
places. Describe specifically the injuries incurred. Do not give legal arguments or
cite cases or statutes. You may do that in Item “B” below. If you allege related
claims, number and set forth each claim in a Separate paragraph. Use as much space

as you need to state the facts. Attach extra sheets, if necessary. Unrelated separate
claims should be raised in a separate civil action.

Jirnrrie Joann is a Mudly Celarded Risener acd Sicre
Tay to TuytegpingO® 2a) ocd thee Coc aining to. CCT cfFicials Abt

‘he Lins hein Yorenten be ether Beianner tent ater

“Yisoners, ier. taheirg nis Canteen and Persona | Percy

0S Lelles Verbal dbuse . and bers se. \oorote chan ia LAS

UD. atibe..cf ten afford to come his Jocmenteacs CCL ic ia\s
led to crkion this ohany Con Phinks Ushich lend to the

{odenton July 1,201) in 982 Seq” Linen one of his exPpitocs

Complaint Under the Civil Rights Act Page 3

 

 
Case: 3:12-cv-00186-bbc Document #:1 Filed: 03/20/12 Page 4 of 5

STATEMENT OF CLAIM continued

heak nie Sor Fathing 40 Shox LJnicin Liere Cork, Kellec®
Sq onectis on S200 Ante 114) 20\\ nefore cnc Spain
re citar hen ay lns celine Lina Wieo ZA Cater
lontin CAPA: eller % SiO cones Wher views ONL, Josieua, aloaut
nis Taney acd nos cnc are. 09 tas accaum: Gnd
Sercen, cooler Caocrens Yont \nrrakes Yarn) olocuy
OS cree acd Eyorked Yorenkic Jaana nefare.

This Gilach did couse “esi a Pin. sancan and ermiccal
hore on ne Gack “T lb |2a\\ This attach Cou ‘rave.

Dee Overed, t Sine Ae Employers Linich are nic me\

 

vasieenees a TA2, ‘taoctrler: % Seok Toes abe lavestgahion
eget CPi bellec| Olst bok comes hicer

Co. Corrie cote Licuidot ianeced Inis feRaked Cequsetstorhel?
this attach tunic oever en. “Eph instead of olteeriog hee Fheyos

 
    

The = Oe Eva) at pang ce ate Hynor hee ringar Paces

AMING B. State briefly your legal theory or cite appropriate authority.
MMONCeN, SES re Ora in vlatier cf my

Constanta fidnt under asore. CO. Federal lau) Tie, Ootice
Irekutes +onee. ens ee a poaens

—

 

 

ee cen sete 4 Seckion . Ucviecr Wistanaia canst.
ced LY" omentioent equal Patection cf the. las UMAeC US.COnBY, ,
Cin Rececucal due Recess, hin) Violerkacs See Cibed Mamnes abwe.

Complaint Under the Civil Rights Act Page 4

 
"Case: 3:12-cv-00186-bbc Document #:1 Filed: 03/20/12 Page 50f5

V. RELIEF YOU REQUEST

State briefly and exactly what you want the court to do for you. Make no legal arguments.

: Do not use this space to state the facts of your claim, Use it only to request remedies for the
i Nouchkon injuries you complain about.

|. Tolbe Placedinastnte mental Inaktuiion Liters are einer Coemially Vi
Hris0ners Oe hese for cnental illness to Secve Aric icp? aaa,
QCelithals Single. 2 tak earin of the camel @<Racrlenks Pie sco
WO AME COMUNE OF 250 OD Recto Shake lau Seanad Vilar of COMBS ion
MOMS. 3 gi Gectthe chinant a Jury mil 4 Puck im the Interest of jae

Ad Zave ax Yayecdallacs the. Cloimnent (iif) acter: a Teaannable oer fon
the Gtarney General OFFice-FUrAN Cut OF COUR Severna,

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this day of [1 rch , 20 4 a.

Signature of Plaintiff(s) |

(If there are multiple plaintiffs, each must
sign the complaint)

Prisoner I.D. Number(s) "465A

 

Complaint Under the Civil Rights Act -5- Page 5
